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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION

SAMANTHA WILLIAMS,                                    NO. 20-cv-1501
DAKOTA FISHER, individually
and on behalf of those similarly                      JUDGE DAVID C. JOSEPH
Situated, and WES PIGOTT                              MAG. JOSEPH H.L. PEREZ-MONTES

VERSUS

D’ARGENT FRANCHISING, LLC,
D’ARGENT CONSTRUCTION, LLC,                           Putative Collective Action
THOMAS GIALLONARDO, III,                              Pursuant to 29 U.S.C. § 216(b)
JUSTIN GIALLONARDO, and
XYZ INSURANCE CO.



                      Plaintiffs’ Opposition to Motion for Protective Order

        NOW INTO COURT, through counsel, comes Plaintiffs Samantha Williams and Dakota

Fisher, individually and on behalf of those similarly situated, and Wes Pigott, to oppose Defendants’

Motion for Protective Order. R. Doc. 38-1.

   I.      Introduction

        Defendants’ Motion for Protective Order and to stay discovery should be denied because the

Defendants have not shown good cause, and because there will be prejudice to both the named

Plaintiffs and to the putative class members if discovery is stayed completely. The Defendants have

not shown that the pending motion for conditional certification creates good cause to justify a stay

discovery. While conditional certification is a threshold issue in this case, the Fifth Circuit has not

mandated that discovery be stayed in all cases where such a motion is pending. In fact, the Court in

Swales confirmed this Court’s wide discretion to make individual determinations for each case as it

relates to discovery in collective actions. While Defendants focus on the decision in Swales, they fail




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to explain how they will be burdened by responding to Plaintiffs’ discovery requests. Defendants

have not shown specific facts sufficient for good cause.

         Further, all Plaintiffs—named and putative class members—will be prejudiced if discovery is

stayed. First, the named Plaintiffs will be prejudiced if discovery is stayed even if this Court denies

the pending motion for conditional certification because litigation will not end in this matter. The

named Plaintiffs’ claims will move forward regardless, and thus a stay to all discovery is not

warranted. Further, Defendants have already responded to some of Plaintiffs’ discovery requests and

fail to explain how continuing to respond is overly burdensome or expensive. Second, because the

Defendants refuse to consider stipulations to equitable tolling or Notice to a putative class, unknowing

putative Plaintiffs are greatly prejudiced by delaying the progress of this case as they will be

prevented from bringing or even knowing of their claims while their statute of limitations continues

to erode their claims to unpaid wages.

         The motion for protective order and for a stay of discovery should be denied.

   II.      Legal Standard for a Motion for Protective Order and Stay

         Federal Rule of Civil Procedure 26(c)(1) states that a “court may, for good cause, issue an

order to protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense….” To show good cause for a protective order, "[t]he burden is upon the movant to show

the necessity of its issuance, which contemplates a particular and specific demonstration of fact as

distinguished from stereotyped and conclusory statements." In re Terra Int'l, Inc., 134 F.3d 302, 306

(5th Cir. 1998) (quoting United States v. Garrett, 571 F.2d 1323, 1325-26 n. 3 (5th Cir. 1978). Where

there is even a chance that a stay will prejudice one party, the proponent of the motion “bears the

burden of showing ‘a clear case of hardship or inequity.’” Kostmayer Constr., LLC v. Impala

Warehousing (U.S.) LLC, NO. 12-2104 at 4 (E.D. La. 2012) (quoting Landis v. North American Co.,

299 U.S. 248, 255 (1936)).
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          When considering issues of discovery in the context of FLSA cases where conditional

certification is pending, “the bottom line is that the district court has broad, litigation-management

discretion....” Swales v. KLLM Transp. Servs., LLC, 985 F.3d 430, 443 (5th Cir. 2021). In Swales, the

Fifth Circuit made clear that the amount of discovery necessary in each case will vary. Id. at 441. The

Court did not mandate, in any way, that a stay of all discovery was required. Id. “Indeed, a stay while

dispositive motions are pending is the exception rather than the rule.” Bankers Ins. Co. v. Egenberg,

NO. 19-13129 at 6 (E.D. La. 2020).

   III.       The Defendants have not met their burden to show “good cause” for why a protective
              order and stay of discovery is necessary.

          Defendants argue that because the motion for conditional certification is pending, and because

the Plaintiffs are attempting to continue to proceed with discovery in this matter, that “Defendants

have no choice but to move for Protective Order, seeking to stay all further discovery until a Swales

order has issued.” R. Doc. 38-1 at 4. This argument does not meet the burden of “good cause” as it

does not put forth a “particular and specific demonstration of fact as distinguished from stereotyped

and conclusory statements” as to the necessity of a stay in all discovery. See In re Terra Int'l, Inc.,

134 F.3d 302, 306 (5th Cir. 1998) (quoting United States v. Garrett, 571 F.2d 1323, 1325-26 n. 3 (5th

Cir. 1978).

          While there is a pending motion with a threshold question of conditional certification, this

alone does show good cause for this Court to issue a stay in discovery. See Bankers Ins. Co. v.

Egenberg, 19-CV-13129 at 6 (E.D. La. 2020). The Fifth Circuit’s decision in Swales has not resulted

in a procedural landscape where a defendant can refuse to respond to discovery or dictate the

frequency or necessity of discovery in a case. As argued by Plaintiffs in related pleadings, Swales

does not demand that district courts force litigants into discovery motions and enter discovery orders

in every single FLSA case. Rather, Swales instructs that the district court may use its discretion on a

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case-by-case basis to ensure justice and fairness is maintained in such cases. See Swales, 985 F.3d at

443. Plaintiffs maintain that, because of the already-obtained and documented evidence discovered

pertaining to Defendants’ common policy and practice of FLSA violations across the board in

deleting hours and misclassifying employees, Plaintiffs contend there is ample evidence for the Court

to grant conditional certification at this stage. But this does not mean all discovery should cease. The

Court may rule on the issue of conditional certification because there is sufficient evidence to the

question of whether the putative class members are “similarly situated” without a discovery order,

and discovery should continue to progress on the merits of the case.

       Defendants’ intentions to run the clock on putative class member claims could not be clearer.

They have refused to consider tolling or stipulations on a class Notice, and instead have asked for a

stay in all discovery, while at the same time seeking court intervention on their view of relevant

discovery. Defendants’ theory is couched in their view that the Fifth Circuit in Swales has now

mandated that district courts must referee litigants as to how much and/or how little pre-litigation

discovery must be ordered by a district court in every FLSA case. Even in cases like this one where

the facts and issues are already evidenced and would now require merit and credibility findings.

       Further, discovery should not be stayed in this matter because the Defendants have not

specified how responding to the outstanding discovery requests or engaging in ESI searches will be

overly burdensome or expensive. Discovery is well underway in this case and Defendants just now

decided to move to stay the proceedings and interrupt responses that initiated months ago. In both

their motion and in the Declaration of Susan Fahey Desmond (R. Doc. 38-2), Defendants fail to

provide details of the cost and burden of continuing discovery and only outline the discovery requests

they have already responded to. By Defendants’ own admission, “relevant hard drives, email accounts

and pay information have been preserved by a third-party e-discovery vendor,” which shows that the

information Plaintiffs requested should be readily available to produce. R. Doc. 38-1 at 4. The
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Plaintiffs have not issued any requests for depositions or other requests since the request for an ESI

search proposal. The Defendants conclusory statements—that continuing with discovery is expensive

and burdensome—is insufficient for good cause.

   IV.      Both named Plaintiffs and putative class members will be prejudiced if discovery is
            stayed because the Defendants’ request is not limited in scope and there is no
            equitable tolling agreement.

         Defendants argue that a stay in discovery “will not materially impede the progress of the case”

(R. Doc. 38-1 at 6) and state “there is no need to rush,” implying the Plaintiffs will not be prejudiced

if this motion is granted. However, this is wholly false. First, the named Plaintiffs will clearly be

prejudiced because the pending motion for conditional certification has no bearing on their claims.

The motion is not dispositive to their claims, and there is no threshold issue to decide. The

Defendants’ request to stay discovery to all Plaintiffs is entirely unreasonable and not supported by

good cause. Discovery is already well underway. Defendants have already responded to some of the

named Plaintiffs’ requests—although not sufficiently—so they have already organized their

discovery production and responses. The fact that trial is set one year from now does not prevent

prejudice to the Plaintiffs. Discovery in this matter may take many months and the named Plaintiffs

will not be able to determine that until the Defendants continue to respond to discovery requests.

         Second, the putative class members will continue to be prejudiced if the Defendants request

for a protective order and stay is granted because there is no equitable tolling. Plaintiffs have

repeatedly requested an equitable tolling agreement in this case and Defendants have rejected these

efforts. Defendants took, however, three months to definitively say they would not agree to tolling.

These actions have the result of running the clock on the FLSA rights of those individuals who have

no knowledge of the violations they are victim of – rights that have been willfully deprived of through

company policies and plans deleting evidence of said rights.



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        As required for equitable tolling, Plaintiffs have taken and attempted every single reasonable

and diligent action they can think of to assert and protect the rights of Plaintiffs. And now Defendants

want to further prejudice the rights of putative class members by staying discovery. The Defendants

have not shown “a clear case of hardship or inequity” compared to the prejudice to the putative class

members, thus this motion should be denied. See Kostmayer Constr., LLC, 12-CV-2104 at 4 (quoting

Landis v. North American Co., 299 U.S. 248, 255 (1936)).

   V.      Conclusion

        For the reasons stated above, this Court should deny Defendants’ Motion for Protective Order.



                                              Respectfully Submitted,

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